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                                UNITED STATES DISTRICT COURT
                               F 4; R THE DISTRICT OF NEW JE*SEY
                                        NEWARK VICINAGE




    OCCIDENTAL CHEMICAL                                 Hon. Madeline Cox Arleo
    CORPORATION,                                        Hon. Magistrate Leda D. Wettre

           Plaintiff                                    Civil Action No. 2:18 -CV-11273 (MCA-
                                                        JAD)
      V.

    21' CENTURY FOX AMERICA, INC., et
    al.,

           Defendants,

    21' CENTURY FOX AMERICA, INC., et
    al.,

           Third-Party Plaintiffs,

      V.

    PASSAIC VALLEY SEWERAGE
    COMMISSIONERS, et al.,

           Third-Party Defendants.

                    STIPULATION AND PROPOSED ORDER CONCERNING
           SE IR'VICE OF PROCESS AND DEADLINE FOR FILING RESPONSES TO
                              THIRD-PARTY COMPLAINT

           Defendants in the Small Parties Group (the "SPG"), the Gordon Rees Group, and the CSG Group

   (individually and collectively, "Third-Party Plaintiffs"), have filed a Third-Party Complaint, ECF No. 1170,

   in the above-captioned action against the Passaic Valley Sewerage Commissioners ("PVSC") and 42

   municipalities (individually and collectively, "Third-Party Defendants), alleging liability for response costs

   associated with the contamination of the Lower Passaic River. To preserve party and judicial resources,

   Third-Party Plaintiffs and the Third-Party Defendants listed in Exhibit A hereto (collectively, "Stipulating

   Third Party Municipal Defendants"), by and through their undersigned counsel, stipulate to the following:



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           1.       The undersigned counsel for Stipulating Third Party Municipal Defendants agrees to and

   is authorized by the Stipulating Third Party Municipal Defendants to accept service of the Third-Party

   Complaint, filed on February 24, 2021, on behalf of all Stipulating Third Party Municipal Defendants, in

   satisfaction of the requirements of Fed. R. Civ. P. 4.

           2.       No later than 10 days after this Order is entered by the Court, counsel for SPG, on behalf

   of all Third-Party Plaintiffs, shall send the undersigned counsel for PVSC, the stipulating Third-Party

   Municipal Defendants via Federal Express and by e-mail, a complete copy of the Third-Party Complaint,

   which will constitute the service of the Third-Party Complaint on all Stipulating Third Party Municipal

   Defendants.

           3.       Unless otherwise modified by a Case Management Order entered in this action, and

   assuming paragraph 2 has been complied with, the Stipulating Third Party Municipal Defendants shall, as

   permitted by Fed. R. Civ. P. 12, answer, move or otherwise respond to the Third-Party Complaint within

   90 days after this Order is entered by the Court. If Stipulating Third Party Municipal Defendants need more

   than 90 days after this Order is entered by the Court, they will move for a 30-day extension of time. Third-

   Party Plaintiffs will not object to such an extension of time.

           4.      Third-Party Plaintiffs shall file any opposition to any Motion in response to the Third-Party

   Complaint described in Paragraph 3, no more than 60 days after the filing of the Motion. Stipulating Third

   Party Municipal Defendants shall file any reply in support of any such Motion no more than 30 days after

   the filing of Third-Party Plaintiffs' Response in Opposition.

           5.      Except as stated herein, this Stipulation and Order shall not constitute a waiver of any

   defenses other than sufficiency of service, including but not limited to: (a) any jurisdictional defenses that

   may be available under Rule 12 of the Federal Rules of Civil Procedure, statutory law, or common law

   (including but not limited to personal jurisdiction defenses), (b) any affirmative defenses that may be

   available under Rule 8 of the Federal Rules of Civil Procedure, statutory law, or common law, or (c) any

   other statutory or common law defenses that may be available to the Stipulating Third Party Municipal

   Defendants in this or any other related actions. Stipulating Third Party Municipal Defendants expressly


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   reserve the right to raise any such defenses (or any other defenses) in response to (a) the current Third-Party

   Complaint or any amended and/or consolidated third-party complaint that may be filed on behalf of Third-

   Party Plaintiffs or any other defendant in this action, and/or (b) any third-party complaint that may be filed

   in any related action.

            6.      The terms of this Stipulation and Order are available, without further stipulation by counsel

   for Third-Party Plaintiffs, to all Stipulating Third Party Municipal Defendants who notify Third-Party

   Plaintiffs in writing of their intention to join this Stipulation and Order and agree to all its tenns.


   IT IS SO ORDERED.

   Dated:
                                                       Hon. Magistrate Leda D. Wettre


   STIPULATED TO AN               APPROVED           Y:

   May 6,2021
                                                       Preti, F   .rty, Beliveau & Pachios, LLP
                                                       One CL1 Center, PO Box 9546
                                                       Portland, ME 04112
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                                                       Jeffrey D. Talbert, Esq. (admitted pro hac vice)
                                                       Benjamin S. Piper, Esq. (admitted pro hac vice)
                                                       James W. Beers, Jr., Esq. (admitted pro hac vice)


                                                       SHOOK HARDY & BACON L.L.P.
                                                       2555 Grand Blvd.
                                                       Kansas City, MO 64108
                                                       Tel.: 816.474.6550
                                                       David R. Erickson, Esq. (admittedpro hac vice)
                                                       Joseph H. Blum, Esq. (NJ Bar No. 010211984)

                                                       Counsel for the Small Parties Group

                                                          /s/ Diana L. Buongiorno
                                                       CHIESA SHAHINIAN & GIANTOMASI PC
                                                       One Boland Drive
                                                       West Orange, NJ 07052
                                                       Tel.: 973.530.2075
                                                       Diana L. Buongiorno, Esq.

                                                       Liaison Counsel for the CSG Liaison Group



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        EXHIBIT A
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        NOTICE OF DESIGNATION PETER J. ICING AS LIAISON COUNSEL ON
                BEHALF OF THE FOLLOWING MUNICIPALITIES

                       Occidental v. 21" Century Fox America 2:18 -CV-11273 (MCA-LDW)

   PETER J. KING, ESQ.

   East Rutherford Borough
   Belleville Township
   Elmwood Park Borough
   Prospect Park Borough
   Lodi Borough
   North Caldwell Borough
   Wallington Borough
   Ridgewood Village
   North Arlington Borough
   Garfield City
   Rutherford Borough
   Glen Rock Borough
   Saddle Brook Township
   Haledon Borough
   South Hackensack Township
   Hawthorne Borough
   Fair Lawn Borough
   Franklin Lakes Borough
   Little Falls Township
   Lyndhurst Township
   Nutley Town
   South Orange Village Township
   Wood-Ridge Borough



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